                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION

UNITED STATES OF AMERICA      )
                              )
               Petitioner,    )                 3:98CR7-16-MU
                              )                 3:05CV502
          v.                  )
                              )
JACK PHILIPS                  )             MEMORANDUM OPINION
                              )
               Respondent.    )
______________________________)


           This matter is before the Court on defendant’s petition

for a writ of mandamus (3:98CR7-16-MU, Filing No. 433);

defendant’s motion to vacate, set aside, or correct sentence

under 28 U.S.C. § 2255 (3:05CV502, Filing No. 1); and the

government’s motion to dismiss the defendant’s § 2255 petition

(3:05CV502, Filing No. 4).        Having reviewed the motions, the

parties’ briefs and evidentiary submissions, and the applicable

law, the Court will deny the defendant’s petition for a writ of

mandamus; deny the defendant’s motion under 28 U.S.C. § 2255; and

grant the government’s motion to dismiss.

                             I.    BACKGROUND

           On July 6, 1998, the defendant and others were indicted

for conspiracy to possess with intent to distribute, and

distribute cocaine and cocaine base, in violation of 21 U.S.C.

§§ 841(a)(1) and 846.    Defendant was offered a plea agreement,

but refused to plead, and was later convicted by a jury on April

8, 1999.   On September 23, 1999, the Court sentenced the




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defendant to 292 months imprisonment, five years of supervised

release, and to pay a $100 special assessment.         The defendant

filed a notice of appeal with the Fourth Circuit Court of Appeals

on October 1, 1999.    Shortly thereafter, on October 12, 1999, the

defendant moved to dismiss his appeal, pursuant to Fed. R. App.

P. 42(b).    The Fourth Circuit dismissed defendant’s appeal on

October 20, 1999.

            More than four years later, on March 17, 2004, the

defendant filed the instant petition for writ of mandamus.             The

defendant seeks a court order compelling the government to comply

with the terms of an alleged cooperation agreement by filing a

motion to reduce defendant’s sentence, pursuant to Fed. R. Crim.

P. 35(b).    The defendant claims that he was advised by his

attorney, James Bowman, following the imposition of his sentence,

that Mr. Bowman had reached a “tentative agreement” with the

government whereby the government would file a motion for a

reduction in sentence under Fed. R. Crim. P. 35(b), in the event

the defendant provided substantial assistance to the government

in the investigation and/or prosecution of persons involved in

crimes against the United States.       The defendant further claims

that he was advised by Mr. Bowman that he would have to withdraw

his appeal and fully cooperate with the government in order to be

entitled to a reduction in his sentence.




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          The government does not dispute that it was contacted

by Mr. Bowman regarding the defendant’s willingness to cooperate;

that it agreed to listen to what the defendant had to say; and

that the defendant was debriefed by the government and was

transported to the Western District of North Carolina to appear

as a potential witness in a criminal trial.         The government

contends, however, that it never entered into a “cooperation

agreement” with the defendant.

          Mr. Bowman and Noell P. Tin, who was hired by the

defendant post-conviction, each provided affidavits concerning

these events.    In his affidavit, Mr. Bowman states that “[t]here

was at no time any agreement by the office of the U.S. attorney

for the Western District of North Carolina as to the sentence to

be imposed on Mr. Phillips” and that “[t]here was never any

agreement that Mr. Phillips would receive any benefit from his

post-conviction attempts to cooperate with the government and

local police.”   Similarly, in his affidavit, Mr. Tin states that

the U.S. Attorney’s office indicated a willingness to consider a

Rule 35 motion for reduction in sentence if the defendant

provided substantial assistance to the government, but that the

government never guaranteed the defendant that it would move for

a reduction of defendant’s sentence.        Mr. Tin further states that

he never advised the defendant that he was guaranteed a reduction




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in sentence and that the defendant, to his knowledge, never

provided any information that assisted with an investigation.

            On November 30, 2005, the defendant filed a Motion to

Vacate, Set Aside or Correct his sentence pursuant to 28 U.S.C.

§ 2255, raising a claim of ineffective assistance of counsel

based on newly discovered evidence.         The government seeks

dismissal of defendant’s habeas petition, arguing that

defendant’s § 2255 claims are time-barred.          The motions are fully

briefed and are now before the Court.

                             II.   DISCUSSION

     A.     Defendant’s Petition for a Writ of Mandamus

            The defendant seeks a writ of mandamus compelling the

government to comply with the parties alleged “cooperation

agreement,” by filing a Rule 35(b) motion for reduction in

sentence.    Mandamus relief is a drastic remedy to be used only in

extraordinary circumstances.       Kerr v. United States Dist. Court

for N. Dist. California, 426 U.S. 394, 402 (1976).             “The party

seeking mandamus relief carries the heavy burden of showing that

he has ‘no other adequate means to attain the relief he desires’

and that his right to such relief is ‘clear and indisputable.’”

In re Beard, 811 F.2d 818, 826 (4th Cir. 1987) (quoting Allied

Chemical Corp. v. Daiflon, Inc., 449 U.S. 33, 35 (1980)).

            The defendant’s petition for a writ of mandamus

compelling the government to file a Rule 35(b) motion fails


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because the defendant has not sustained his burden of proving

that he had a “clear and undisputable” right to a reduction in

his sentence.    A sentencing court lacks authority to compel the

government to file a motion for a reduction in sentence unless

the government obligated itself, in a plea agreement, to make a

Rule 35(b) motion or unless, in the absence of such an

obligation, it is shown that government's refusal or failure so

to move was based on an unconstitutional motive.             See United

States v. Thompson, 102 Fed. Appx. 770, 771 (4th Cir. 2004);

United States v. Wallace, 22 F.3d 84, 87 (4th Cir. 1994).              The

defendant’s contention the Court should compel the government to

file a Rule 35(b) motion because he had a binding “cooperation

agreement” with the government, is not supported by the record.

There is no reliable evidence before the Court that any

“cooperation agreement” ever existed between the government and

the defendant.   Although the government indicated that it would

consider filing a Rule 35(b) motion if the defendant provided

substantial assistance, the affidavits of Mr. Bowman and Mr. Tin

unequivocally state that the government never obligated itself,

in any way, to file Rule 35(b) motion.       Accordingly, the Court

finds that defendant has not sustained his burden of proving that

he has a “clear and undisputable” right to a reduction in his

sentence under Rule 35(b).




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     B.   Defendant’s Motion to Vacate, Set Aside or Correct his
          Sentence under 28 U.S.C. § 2255

          The defendant also seeks relief under 28 U.S.C. § 2255

for ineffective assistance of counsel.       The defendant claims that

he is entitled to § 2255 relief because newly discovered

evidence, namely, Mr. Bowman’s affidavit dated January 21, 2005,

reveals that Bowman advised the defendant to “withdraw his appeal

through coercion, misadvice, and dishonesty.”         Specifically, the

defendant alleges that Bowman misled and coerced him into

withdrawing his appeal by lying to him and telling him that he

had entered into a cooperation agreement with the government on

the defendant’s behalf.      For reasons set forth below, the Court

finds that defendant’s § 2255 motion is time-barred.

          Under the Antiterrorism and Effective Death Penalty Act

of 1996 (“AEDPA”), 28 U.S.C. § 2255 ¶ 6, a § 2255 petition must

be filed within one year of     “the date on which the judgment of

conviction becomes final” or “the date on which the facts

supporting the claim or claims presented could have been

discovered through the exercise of due diligence.”           28 U.S.C.

§ 2255 ¶ 6(1), (4).   The judgment of conviction for a prisoner

who does not pursue a direct appeal becomes final upon the entry

of the judgment of conviction.      See United States v. Sanders, 247

F.3d 139, 142 (4th Cir. 2001).     If a prisoner’s conviction is

affirmed on direct appeal and he does not file a petition for

certiorari, the judgment of conviction becomes final ninety days

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after entry of the Court of Appeals’ judgment.          See Clay v.

United States, 537 U.S. 522, 527 (2003).        Giving the defendant

the benefit of having actually pursued a direct appeal and,

therefore, calculating the date of final judgment from the Fourth

Circuit’s October 20, 1999, order dismissing his appeal, the

defendant’s judgment of conviction became final on January 18,

2000.   Defendant’s § 2255 petition, which was filed on November

30, 2005, approximately five years after his judgment of

conviction became final, is clearly untimely under 28 U.S.C.

§ 2255 ¶ 6(1).

           While defendant’s § 2255 motion is untimely under

§ 2255 ¶ 6(1), the defendant argues that his petition is

nonetheless timely under § 2255 ¶ 6(4) because the information

contained in Mr. Bowman’s January 1, 2005, affidavit constitutes

newly discovered evidence.     This argument is without merit for

two reasons.   First, there is no evidence before the Court that

the defendant exercised due diligence in seeking the information

contained in Mr. Bowman’s affidavit.        Second, the information

contained in Mr. Bowman’s affidavit does not entitle the

defendant to a reduction in his sentence.         To the contrary, the

information contained in Mr. Bowman’s affidavit supports the

conclusion that the government did not have a binding obligation

to file a Rule 35(b) motion.     Mr. Bowman’s affidavit was a “memo

on withdrawal of appeal” (Filing No. 5 in 3:05CV502) (Exhibit 3


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to the government’s motion to dismiss), which together with Mr.

Bowman’s affidavit clearly establishes that defendant was not

subjected to any “coercion, misadvice, and dishonesty” as he

claims.    The above memo is dated October 6, 1999, and was signed

by the defendant.

           Moreover, the Court also finds that the defendant is

not entitled to equitable tolling of the AEDPA’s one-year statute

of limitations.   “[E]quitable tolling of the AEDPA’s one-year

limitation period is reserved for those rare instances where –-

due to circumstances external to the party’s own conduct –- it

would be unconscionable to enforce the limitation period against

the party and gross injustice would result.”         Minter v. Beck, 230

F.3d 663, 666-67 (4th Cir. 2000) (internal quotations omitted).

The defendant’s failure to timely file his § 2255 petition was

not due to circumstances external to his own conduct.

Accordingly, defendant’s § 2255 petition will be denied.            A

separate order will be entered in accordance with this memorandum

opinion.

           DATED this 10th day of February, 2006.

                                 BY THE COURT:

                                 /s/ Lyle E. Strom
                                 ____________________________
                                 LYLE E. STROM, Senior Judge
                                 United States District Court




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